                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA

UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )       Case No. 1:06-CR-68-004
                                              )
VINCENT BOWLING                               )       EDGAR/CARTER

                                            ORDER

       On November 2, 2006, Magistrate Judge William B. Mitchell Carter filed a report and

recommendation recommending (a) the Court accept Defendant Vincent Bowling’s (“Defendant”)

plea of guilty to a lesser included offense contained within Count One of the Indictment, Conspiracy

to Distribute 5 grams or more of cocaine base in violation of Title 21, United States Code, Sections

841(a)(1) and (b)(1)(B) and 846 in exchange for the undertakings made by the government in the

written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Count

One of the Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

sentencing; and (d) Defendant be taken into custody pending sentencing in this matter (Doc. 68).

Neither party filed an objection within the given ten days. After reviewing the record, the Court

agrees with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS

and ADOPTS the magistrate judge’s report and recommendation (Doc. 68) pursuant to 28 U.S.C.

§ 636(b)(1) and ORDERS as follows:

       (1) Defendant’s plea of guilty to a lesser included offense contained within Count One of the

Indictment, Conspiracy to Distribute 5 grams or more of cocaine base in violation of Title 21, United

States Code, Sections 841(a)(1) and (b)(1)(B) and 846 is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

Indictment;



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      (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

      (4) Defendant REMAIN in custody pending sentencing in this matter.

      SO ORDERED.

      ENTER this the 16th day of November, 2006.


                                           /s/ R. Allan Edgar
                                         R. ALLAN EDGAR
                                   UNITED STATES DISTRICT JUDGE




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